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     LEROY TESSINA

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9                                    SOUTHERN DIVISION

10   LEROY TESSINA,                               )
                                                  )
11                 Plaintiff,                     ) Case No.: 2:14-cv-07770
            v.                                    )
12                                                )
                                                  ) PLAINTIFF’S COMPLAINT
13
     DYNAMIC RECOVERY SOLUTIONS,                  )
     LLC,                                         )
14                                                )
                   Defendant.                     )
15                                                )
                                                  )
16
                                       PLAINTIFF’S COMPLAINT
17
            Plaintiff, LEROY TESSINA (“Plaintiff”), through his attorney, AGRUSS LAW FIRM, LLC,
18

19   alleges the following against Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC (“Defendant”):

20                                           INTRODUCTION
21
        1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C.
22
            1692 et seq. (“FDCPA”).
23
        2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices Act,
24

25          Cal. Civ. Code §1788 et seq. (“RFDCPA”).

26                                    JURISDICTION AND VENUE
27
        3. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k (FDCPA).
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                                                      1
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 1     4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such actions

 2        may be brought and heard before “any appropriate United States district court without regard
 3
          to the amount in controversy.”
 4
       5. Venue and personal jurisdiction in this District are proper because Defendant does or transacts
 5
          business within this District, and a material portion of the events at issue occurred in this
 6

 7        District.

 8                                                PARTIES
 9
       6. Plaintiff is a natural person residing in Los Angeles, Los Angeles County, California.
10
       7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).
11
       8. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. § 153 (10).
12

13     9. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5) and Cal. Civ.

14        Code § 1788.2(h).
15
       10. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Cal. Civ. Code
16
          §1788.2(c).
17
       11. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.
18

19     12. Defendant is a collection agency located in Greenville, Greenville County, South Carolina.

20     13. Defendant is a business entity engaged in the collection of debt within the State of California.
21     14. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding account
22
          balances.
23
       15. When an unpaid, outstanding account is placed with Defendant it is assigned a file number.
24

25
       16. The principal purpose of Defendant’s business is the collection of debts allegedly owed to third

26        parties.
27     17. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.
28


                                                       2
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 1     18. Defendant regularly collects, or attempts to collect debts on which the statute of limitations has

 2        expired.
 3
       19. During the course of its attempts to collect debts allegedly owed to third parties, Defendant
 4
          sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or
 5
          electronic mail, and initiates contact with alleged debtors via various means of
 6

 7        telecommunication, such as by telephone and facsimile.

 8     20. Defendant acted through its agents, employees, officers, members, directors, heirs, successors,
 9
          assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
10
                                        FACTUAL ALLEGATIONS
11
       21. Defendant is attempting to collect an alleged debt originally owed to Pacific Bell Directory.
12

13     22. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

14        purposes.
15
       23. On or about May 1, 2014, Defendant sent Plaintiff a collection letter, attached as Exhibit A.
16
       24. On or about May 10, 2014, Plaintiff received a collection letter from Defendant. See Exhibit
17
          A.
18

19     25. If the debt is owed at all, it was incurred over 20 years ago.

20     26. The statute of limitations on a written contract in California is four (4) years.
21     27. Defendant is attempting to collect a debt on which the statute of limitations has expired.
22
       28. Nothing in Defendant’s collection letter disclosed that the debt was barred by the statute of
23
          limitations.
24

25
       29. Nothing in Defendant’s collection letter disclosed the date of the transactions giving rise to the

26        claimed debt.
27     30. It is the policy and practice of Defendant to send letters seeking to collect time-barred debts
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                                                        3
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 1        that do not disclose the fact that they are time-barred.

 2     31. It is the policy and practice to send letters seeking to collect time-barred debts that do not
 3
          disclose the dates of the transactions giving rise to the debts.
 4
       32. The Federal Trade Commission has determined that “Most consumers do not know their legal
 5
          rights with respect to collection of old debts past the statute of limitations . . . When a collector
 6

 7        tells a consumer that she owes money and demands payment, it may create the misleading

 8        impression that the collector can sue the consumer in court to collect that debt.”
 9
          (http://www.ftc.gov/opa/2012/01/asset.shtm). The FTC entered into a consent decree with
10
          Asset Acceptance, one of the largest debt buyers in the United States, requiring that it disclose
11
          to consumers when it is attempting to collect debts that are barred by the statute of limitations.
12

13        United States of America (For the Federal Trade Commission) v. Asset Acceptance, LLC, Case

14        No. 8:12-cv-182-T-27EAJ (M.D.Fla.).
15                                COUNT I
16
         DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

17     33. Defendant engaged in unfair and deceptive acts and practices, in violations of the FDCPA, by

18        dunning Plaintiff on a time-barred debt without disclosure of that fact.
19
       34. The nondisclosure is exacerbated by the offer of a “settlement” in the dunning letter. See
20
          Exhibit A. An offer to settle implies a colorable obligation to pay.
21
       35. Defendant violated the FDCPA based on the following:
22

23            a. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading

24                representations or means in connection with the collection of a debt, by attempting to
25
                  collect a time-barred debt from Plaintiff;
26
              b. Defendant violated §1692e(2) of the FDCPA by falsely representing the legal status of
27
                  any debt, when Defendant attempted to collect a time-barred debt without disclosing to
28


                                                        4
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 1                  Plaintiff that the debt was past the statute of limitations;

 2             c. Defendant violated §1692e(5) of the FDCPA by threatening to take action that cannot
 3
                    legally be taken or that is not intended to be taken because Defendant’s collection letter
 4
                    can give the impression that if Plaintiff doesn’t pay the debt, he can be taken to court;
 5
               d. Defendant violated §1692e(10) of the FDCPA by using false representations or
 6

 7                  deceptive means in connection with the collection the alleged debt, when Defendant

 8                  attempted to collect a time-barred debt without disclosing to Plaintiff that the debt was
 9
                    past the statute of limitations; and
10
               e. Defendant violated §1692(f) of the FDCPA by using unfair or unconscionable means
11
                    in connection with the collection of an alleged debt, when Defendant attempted to
12

13                  collect a time-barred debt without disclosing to Plaintiff that the debt was past the

14                  statute of limitations.
15
           WHEREFORE, Plaintiff, LEROY TESSINA, respectfully requests judgment be entered against
16
     Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC, for the following:
17
        36. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.
18

19         1692k,

20      37. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15
21         U.S.C. 1692k,
22
        38. Any other relief that this Honorable Court deems appropriate.
23
                                 COUNT II
24    DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES
                                   ACT
25

26
        39. Plaintiff repeats and re-alleges paragraphs 1-34 of Plaintiff’s Complaint as the allegations in

27         Count II of Plaintiff’s Complaint.
28      40. Defendant violated the RFDCPA based on the following:

                                                           5
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 1               a. Defendant violated the §1788.10(f) of the RFDCPA by threatening to take action

 2                   which is prohibits by the RFDCPA because Defendant’s collection letter can give the
 3
                     impression that if Plaintiff doesn’t pay the debt, he can be taken to court;
 4
                 b. Defendant violated the §1788.13(j) of the RFDCPA by falsely representing that a
 5
                     legal proceeding has been, is about to be, or will be instituted unless payment of the
 6

 7                   consumer debt is made, because Defendant’s collection letter can give the impression

 8                   that if Plaintiff doesn’t pay the debt, he can be taken to court;
 9
                 c. Defendant violated the §1788.17 of the RFDCPA by continuously failing to comply
10
                     with the statutory regulations contained within the FDCPA, 15 U.S.C. § 1692 et seq.
11
           WHEREFORE, Plaintiff, LEROY TESSINA, respectfully requests judgment be entered against
12

13   Defendant, DYNAMIC RECOVERY SOLUTIONS, LLC, for the following:

14      41. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices Act,
15
           Cal. Civ. Code §1788.30(b),
16
        42. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection Practices
17
           Act, Cal. Civ. Code § 1788.30(c), and
18

19      43. Any other relief that this Honorable Court deems appropriate.

20
                                          RESPECTFULLY SUBMITTED,
21

22     DATED: October 7, 2014               AGRUSS LAW FIRM, LLC
23
                                            By: /s/ Michael S. Agruss           .
24                                               Michael S. Agruss
                                                 Attorney for Plaintiff
25                                               LEROY TESSINA
26

27

28


                                                        6
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                         Exhibit A
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